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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF MONTANA
                             MISSOULA DIVISION


TANYA GERSH,                                   Case No. CV-17-050-M-DLC

                       Plaintiff,              JUDGMENT IN A CIVIL CASE

  vs.

ANDREW ANGLIN,

                       Defendant.



       Jury Verdict. This action came before the Court for a trial by jury. The
issues have been tried and the jury has rendered its verdict.

X     Decision by Court. This action came before the Court for bench trial,
hearing, or determination on the record. A decision has been rendered.

      IT IS ORDERED AND ADJUDGED Defendant Andrew Anglin shall
permanently remove from his website the blog posts encouraging his readers to
contact Plaintiff Tanya Gersh and Gersh's family, including all photographs and
images of the family and comment boards associated therewith; judgment is entered
against Defendant Anglin and in favor of Plaintiff Gersh for compensatory damages in
the amount of $4,042,438 and for punitive damages in the amount of $10,000,000.

         Dated this 8th day of August, 2019.

                                    TYLER P. GILMAN, CLERK

                                    By: /s/ A. Puhrmann
                                    A. Puhrmann, Deputy Clerk
